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 9
10                       UNITED STATES DISTRICT COURT
11                        CENTRAL DISTRICT OF CALIFORNIA
12                                 WESTERN DIVISION
13
     UNITED STATES OF AMERICA,            )    NO. CR 07-689-GW
14                                        )
                     Plaintiff,           )    DEFENDANT'S PROPOSED JURY
15                                        )    INSTRUCTIONS (Annotated)
              v.                          )
16                                        )
     CHARLES LYNCH,                       )
17                                        )
                     Defendant.           )
18                                        )
19       Defendant, Charles Lynch, respectfully requests that the Court give the

20 attached instructions in its charge to the jury.
21       Leave is respectfully requested to include such other and additional

22 instructions as may become appropriate in the course of the trial.
23                                         Respectfully submitted,

24                                             SEAN K. KENNEDY
                                               Federal Public Defender
25
26 DATED: July 30, 2008                   By        /s/
                                               JOHN LITTRELL
27                                             Deputy Federal Public Defender
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 1                          COURT’S INSTRUCTION NO. _____
 2                DEFENDANT’S PROPOSED INSTRUCTION NO. _____
 3
 4         It was particularly within the power of the government to produce paid
 5 government informants “CI-1" and “CI-2,” who could have given material testimony on
 6 an issue in this case. The government’s failure to call “CI-1" and “CI-2," may give rise
 7 to an inference that their testimony would be unfavorable to the government.
 8         Specifically with respect to “CI-2", you may draw the inference that if called, “CI-
 9 2" would have testified that “CI-2" had to show a drivers license and physician’s
10 statement, which would have been verified by a dispensary employee, and fill out a
11 marijuana dispensary application agreeing to abide by the conditions therein prior to
12 obtaining any marijuana from the dispensary.
13         You should bear in mind that the law does not impose on a defendant in a criminal
14 case the burden or duty of calling any witnesses or producing any evidence.
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27 Pattern Criminal Federal Jury Instructions for the Seventh Circuit, No. 3.24, Missing
28 Witness; see also Manual of Model Jury Instructions for the Ninth Circuit, (2003 Ed.)
     No. 4.16 Missing Witness, Comment (“The court has the discretion to give a missing
     witness instruction or to leave the matter to the argument of counsel.”)
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 1                          COURT’S INSTRUCTION NO. _____
 2                DEFENDANT’S PROPOSED INSTRUCTION NO. _____
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 4         If you find Mr. Lynch guilty of Count One, and if you further find that Mr. Lynch
 5 possessed with intent to distribute, or conspired to possess with intent to distribute,
 6 marijuana plants, you will be required to fill out a special verdict form with respect to
 7 the number of marijuana plants Mr. Lynch possessed or conspired to possess.
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 9         If you find that the government has allowed any of the marijuana plants alleged
10 in Count One to be destroyed or lost, you may draw an adverse inference that the number
11 of plants was less than the government claims it to be.
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26 Arizona v. Youngblood, 488 U.S. 51, 59 ( 1988) (jury instructed “[i]f you find that the
27 State has . . . allowed to be destroyed or lost any evidence whose content or quality are
28 in issue, you may infer that the true fact is against the government’s interest.”)
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 1                          COURT’S INSTRUCTION NO. _____
 2                DEFENDANT’S PROPOSED INSTRUCTION NO. _____
 3
 4         You must decide whether the conspiracy charged in the indictment existed, and,
 5 if it did, who at least some of its members were. If you find that the conspiracy charged
 6 did not exist, then you must return a not guilty verdict, even though you may find that
 7 some other conspiracy existed. Similarly, if you find that any defendant was not a
 8 member of the charged conspiracy, then you must find that defendant not guilty, even
 9 though that defendant may have been a member of some other conspiracy.
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27 Manual of Model Jury Instructions for the Ninth Circuit,
28 (2003 Ed.) No. 8.17 Multiple Conspiracies
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 1                          COURT’S INSTRUCTION NO. _____
 2                DEFENDANT’S PROPOSED INSTRUCTION NO. _____
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 5         A marijuana plant must have a stem, leaves and a root system. In order to prove
 6 the existence of a marijuana plant, the government must prove beyond a reasonable
 7 doubt that the plant or cutting had a readily observable root formation. A root formation
 8 is not readily observable unless it is readily apparent to the unaided layperson's eye.
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28 United States v. Robinson, 35 F.3d 442, 445-445 (9th Cir. 1994).
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 1                          COURT’S INSTRUCTION NO. _____
 2                DEFENDANT’S PROPOSED INSTRUCTION NO. _____
 3
 4    I instruct you that you must presume Mr. Lynch to be innocent of the crimes charged.
 5 Thus the defendant, although accused of crimes in the indictment, begins the trial with
 6 a "clean slate"--with no evidence against him. The indictment, as you already know, is
 7 not evidence of any kind. The defendant is, of course, not on trial for any act or crime
 8 not contained in the indictment] The law permits nothing but legal evidence presented
 9 before the jury in court to be considered in support of any charge against the defendant.
10 The presumption of innocence alone, therefore, is sufficient to acquit Mr. Lynch.
11     The burden is always upon the prosecution to prove guilt beyond a reasonable doubt.
12 This burden never shifts to a defendant for the law never imposes upon a defendant in
13 a criminal case the burden or duty of calling any witnesses or producing any evidence.
14 The defendant is not even obligated to produce any evidence by cross-examining the
15 witnesses for the government.
16     It is not required that the government prove guilt beyond all possible doubt. The test
17 is one of reasonable doubt. A reasonable doubt is a doubt based upon reason and
18 common sense--the kind of doubt that would make a reasonable person hesitate to act.
19 Proof beyond a reasonable doubt must, therefore, be proof of such a convincing character
20 that a reasonable person would not hesitate to rely and act upon it in the most important
21 of his or her own affairs.
22       Unless the government proves, beyond a reasonable doubt, that Mr. Lynch has
23 committed each and every element of the offense charged in the indictment, you must
24 find him not guilty of the offense. If the jury views the evidence in the case as
25 reasonably permitting either of two conclusions--one of innocence, the other of guilt--the
26 jury must, of course, adopt the conclusion of innocence.
27 O'Malley, Grenig & Lee, Federal Jury Practice and Instructions (5th Ed. 2000),
28 Section 12.10 Presumption of Innocence, Burden of Proof, and Reasonable Doubt
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 1                          COURT’S INSTRUCTION NO. _____
 2                DEFENDANT’S PROPOSED INSTRUCTION NO. _____
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 4         The Tenth Amendment to the United States Constitution states as follows:
 5 “The powers not delegated to the United States by the Constitution, nor prohibited by it
 6 to the States, are reserved to the States respectively, or to the people.”
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27 U. S. Const. amend. X.
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 1                          COURT’S INSTRUCTION NO. _____
 2                DEFENDANT’S PROPOSED INSTRUCTION NO. _____
 3
 4         A verdict form has been prepared for you. After you have reached unanimous
 5 agreement on a verdict, your foreperson will fill in the form that has been given to you,
 6 sign and date it and advise the Court that you are ready to return to the courtroom.
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27 Manual of Model Jury Instructions for the Ninth Circuit,
28 (2003 Ed.) No. 7.5 Verdict Form
